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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA


   RICHARD M. BUSH, individually and on       Case No. 1:20-cv-23527-KMW
   behalf of all others similarly situated,
                                              NOTICE OF NON-OPPOSITION TO
                             Plaintiff,       APPOINTMENT OF ALEXANDER YU, H.
                                              MARC JOSEPH, AND TIANYOU (STEVEN)
   v.                                         WU AS CO-LEAD PLAINTIFFS AND
                                              APPROVAL OF CO-LEAD COUNSEL
   BLINK CHARGING COMPANY,
   MICHAEL D. FARKAS, and MICHAEL
   P. RAMA,

                             Defendants.
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         Lead Plaintiff Movants Alexander Yu (“Yu”), H. Marc Joseph (“Joseph”), and Tianyou

  (Steven) Wu (“Wu” and, collectively with Yu and Joseph, “Movants”) respectfully request that

  the Court appoint Movants as Co-Lead Plaintiffs and approve their selection of Co-Lead Counsel.

  Movants undisputedly claim the “largest financial interest” in this matter. No party challenges

  Movants’ typicality or adequacy. Finally, none of the competing movants oppose Movants’

  appointment.1

         On October 23, 2020, Yu and Joseph timely filed their Motion for Appointment as Lead

  Plaintiff and Approval of Counsel, asserting that Yu and Joseph had suffered financial losses of

  $103,583 in connection with Yu and Joseph’s purchases of the securities of Blink Charging

  Company (“Blink”) between March 6, 2020, and August 19, 2020, inclusive (the “Class Period”)

  and showing that Yu and Joseph were typical and adequate class representatives. ECF No. 22. On

  that same day, Wu timely filed his Motion for Appointment as Lead Plaintiff and Approval of

  Counsel, asserting that he had suffered financial losses of $58,371 in connection with his purchases

  of Blink securities during the Class Period and showing that Wu is a typical and adequate class

  member. ECF No. 23. The two remaining competing applicants claimed substantially smaller

  investment losses than Movants. See ECF Nos. 19 and 20.

         Since that time, Movants have collectively agreed that it is in the best interest of the

  putative class for Yu, Joseph, and Wu to amicably resolve their competing motions and pool their

  resources to effectively and efficiently prosecute this action. See ECF No. 27-1 (Declaration of

  David M. Buckner), Ex. A (Joint Declaration in Support of Appointment of Co-Lead Plaintiffs and



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      Movant Hamit Tamer Adiguzel filed a Notice of Non-Opposition to Competing Lead Plaintiff
  Motions on November 6, 2020. ECF No. 25. Movant Mark J. Friedman filed a Notice of Non-
  Opposition to Competing Motions to Appoint Lead Plaintiff and Approve Selection of Counsel on
  November 6, 2020. ECF No. 26.



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  Approval of Co-Lead Counsel) and Ex. B (Stipulation and Order Appointing Co-Lead Plaintiffs

  and Co-Lead Counsel). Thus, Movants have filed their Response in Support of Appointment of

  Co-Lead Plaintiffs and Approval of Co-Lead Counsel on November 6, 2020, which primarily seeks

  appointment of Movants as Co-Lead Plaintiffs and appointment of their selection of Co-Lead

  Counsel, Hagens Berman Sobol Shapiro LLP (“Hagens Berman”) and Pomerantz LLP

  (“Pomerantz”). ECF No. 27. Competing movants Hamit Tamer Adiguzel and Mark J. Friedman

  filed responses on November 6, 2020, acknowledging Movants’ larger financial interest and not

  contesting Movants’ fitness to represent the class. See ECF Nos. 25 and 26. Accordingly, Movants’

  request for appointment as Co-Lead Plaintiffs and approval of Co-Lead Counsel remains

  unchallenged.

         Based on the foregoing, Movants respectfully request that the Court approve Movants’

  Stipulation (ECF No. 27-1, Ex. B), and enter an Order:

         (1) appointing Movants as Co-Lead Plaintiffs on behalf of all persons who purchased or

  otherwise acquired securities of Blink during the Class Period;

         (2) approving Co-Lead Plaintiffs’ selection of Hagens Berman and Pomerantz as Co-Lead

  Counsel; and

         (3) granting such other and further relief as the Court may deem just and proper.

   Dated: November 13, 2020                           Respectfully submitted,

                                                      By: /s/ David M. Buckner
                                                       David M. Buckner (60550)

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